Case 10-60990-wlh            Doc 62       Filed 08/10/18 Entered 08/10/18 17:56:15         Desc Main
                                          Document      Page 1 of 7



                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                          :             CHAPTER 7
                                                                :
BOBBY MANALCUS WILBANKS                                         :
and KIMBERLY ANN WILBANKS,                                      :             CASE NO. 10-60990-WLH
                                                                :
         Debtors.                                               :

             TRUSTEE’S APPLICATION FOR APPOINTMENT OF ATTORNEYS

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Applicant”) in the

bankruptcy case of Bobby Manalcus Wilbanks and Kimberly Ann Wilbanks (“Debtors”), and

respectfully represents as follows:

                                                           1.

         Debtors initiated this case by filing a voluntary petition for relief under Chapter 13 of

Title 11 of the United States Code (the “Bankruptcy Code”) on January 12, 2010. On May 20,

2010, an Order Discharging Chapter 7 Debtors was entered [Doc No. 19]. The Court entered an

Order Approving, Discharging Trustee and Closing Estate [Doc. No. 51] on September 6, 2013.1

                                                           2.

         On June 18, 2018, the Court entered an order reopening the case [Doc. No. 57].

                                                           3.

         Applicant was thereafter appointed and remains the duly acting Chapter 7 trustee in this

case [Doc. No. 59].

                                                           4.

         To administer this case in a proper, efficient, and economical manner, Applicant requires

the services of legal counsel, and he wishes to employ the firm Arnall Golden Gregory LLP to

1
         Barbara Stalzer was originally the Chapter 7 Trustee in this case.


12514487v1
Case 10-60990-wlh         Doc 62      Filed 08/10/18 Entered 08/10/18 17:56:15            Desc Main
                                      Document      Page 2 of 7



act as his attorneys in this case.

                                                   5.

         The members and associates of said firm are admitted to practice in this Court, have

knowledge and experience in bankruptcy practice and are well qualified to represent Trustee in

this matter. Attached as Exhibit “A” is the Rule 2014 Verification of Arnall Golden Gregory

LLP.

                                                   6.

         The current hourly billing rates (as reduced) of the attorneys and paralegals who may

render services in the case follow:

                        1.      Neil C. Gordon                 $560.00
                        2.      Frank N. White                 $535.00
                        3.      Michael F. Holbein             $495.00
                        4.      Michael J. Bargar              $415.00
                        5.      William D. Matthews            $395.00
                        6.      Angela G. Ford                 $195.00
                        7.      Nancy J. Overholtzer           $195.00
                        8.      Pamela E. Bicknell             $195.00
                        9.      Carol A. Stewart               $170.00

Depending on need for particular experience or the exigencies of the case, other attorneys may

also provide services. The above rates may be increased during the term of the proposed

employment or if so awarded by the Court.

                                                   7.

         Professional services, for which counsel for Trustee are necessary in this case, relate to

the recovery of assets by Trustee, including the preparation, filing, and prosecution of any

motions to settle, motions for turnover, adversary proceedings, as well as all claims objections,

applications, and other necessary services. Specifically, it is necessary to retain attorneys to assist

Applicant with legal issues regarding the investigation, recovery, monetization, and distribution




12514487v1
Case 10-60990-wlh         Doc 62    Filed 08/10/18 Entered 08/10/18 17:56:15              Desc Main
                                    Document      Page 3 of 7



of certain personal property interests of Ms. Wilbanks. Applicant may also require the services

of said professionals to assist with other legal matters, which may arise during the administration

of this case.

                                                   8.

         The professional services, for which it is necessary that an attorney act, may also include:

         (a)    Preparation of pleadings and motions and conducting of examinations incidental

                to the administration of the estate;

         (b)    Services incidental to preservation and disposition of assets;

         (c)    Investigation, analysis, and appropriate action, if required, relative to any

                preference, fraudulent transfer, unperfected security interest, improper disposal of

                assets, prosecution of the estate’s claims, or pending litigation;

         (d)    Any and all other necessary action incident to the proper preservation and

                administration of the estate.

                                                   9.

         To the best of Applicant’s knowledge, said firm’s acting as attorneys in this case will be

in the best interest of the estate, Debtors, creditors, and other parties in interest. Except as

otherwise disclosed herein and in the Bankruptcy Rule 2014 Verification of Michael J. Bargar,

said firm does not hold or represent an interest adverse to the estate, does not represent any

creditor or other known interested party, and is a disinterested person under 11 U.S.C. § 327(a).




12514487v1
Case 10-60990-wlh   Doc 62   Filed 08/10/18 Entered 08/10/18 17:56:15   Desc Main
                             Document      Page 4 of 7




                             10th
Case 10-60990-wlh        Doc 62    Filed 08/10/18 Entered 08/10/18 17:56:15             Desc Main
                                   Document      Page 5 of 7



                                                 10.

         To expedite the marshalling of the estate’s assets, Arnall Golden Gregory LLP has

heretofore performed certain professional services for the estate or plans to perform such

services, which may be rendered prior to the signing of any order upon this Application.

                                                 11.

         Applicant proposes that said firm be compensated for its services in accordance with

future orders of the Court based upon the criteria for professional compensation required by

bankruptcy law. No compensation will be paid by Applicant to said law firm except upon

application to and approval by the Court after notice and hearing as required by law.

         WHEREFORE, Applicant prays that Arnall Golden Gregory LLP be authorized to act as

Applicant’s attorney in this case and that such authorization continue if said firm should assist

any successor Trustee.

         Respectfully submitted this _____ day of August, 2018.



                                                       S. Gregory Hays
                                                       Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305
(404) 926-0060
(404) 926-0055 (facsimile)

         Respectfully submitted this 10th day of August, 2018.

                                                       Proposed Attorneys for Trustee:
                                                       ARNALL GOLDEN GREGORY LLP

                                                       By:     /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
(404) 873-8500                                               michael.bargar@agg.com




12514487v1
Case 10-60990-wlh        Doc 62    Filed 08/10/18 Entered 08/10/18 17:56:15            Desc Main
                                   Document      Page 6 of 7




                                         EXHIBIT "A"
                      RULE 2014 VERIFICATION WITH REGARD TO
                            EMPLOYMENT OF ATTORNEYS


         The undersigned hereby declares under penalty of perjury:

       1.      I am an associate with the law firm of Arnall Golden Gregory LLP, with offices at
171 17th Street, NW, Suite 2100, Atlanta, Georgia 30363 (the “Firm”).

       2.       The Firm has been asked to represent S. Gregory Hays, as Chapter 7 Trustee
(“Trustee”) in the bankruptcy case of Bobby Manalcus Wilbanks and Kimberly Ann Wilbanks
(“Debtors”). To the best of my knowledge, the Firm has no professional, business, or other
connection with the aforementioned Debtors, their creditors, or any party in interest in this case,
except as set forth below. The Firm represents no interest which would be adverse to the estate of
Debtors in connection with the matters upon which the Firm is to be engaged. Disclosure is
made that the Firm has previously represented and does represent Trustee (in his capacity as a
bankruptcy trustee) as special or general counsel in unrelated matters.

       3.      The Firm will not expect nor receive any compensation from the estate except
upon application to and approval by the Bankruptcy Court after notice and hearing.


         Dated this 10th day of August, 2018.

                                                     By:     /s/ Michael J. Bargar
                                                           Michael J. Bargar
                                                           Georgia Bar No. 645709




12514487v1
Case 10-60990-wlh        Doc 62       Filed 08/10/18 Entered 08/10/18 17:56:15        Desc Main
                                      Document      Page 7 of 7



                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served the foregoing Trustee’s Application for

Appointment of Attorneys by depositing in the United States mail a copy of same in a properly

addressed envelope with adequate postage affixed thereon to assure delivery by first class mail to

the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Bobby Manalcus Wilbanks
943 Lake Stone Lea Drive
Oxford, GA 30054

Kimberly Ann Wilbanks
943 Lake Stone Lea Drive
Oxford, GA 30054

Karen Scott Greene
Karen Scott Greene, PC
PO Box 390322
Snellville, GA 30039


         This 10th of August, 2018.

                                                    /s/ Michael J. Bargar
                                                    Michael J. Bargar
                                                    Georgia Bar No. 645709




12514487v1
